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3:01-CV-01973 ACOSTA V. CITY OF SAN DIEGO

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Attorney for Plaintiff

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

ELIZABETH M. ACOSTA,

VS.

Plaintiff,

CITY OF SAN DIEGO, a municipal

corporation; GARY HILL, JOSEPH
KROUSS, ERIC STAFFORD, RAPHAEL
CIMARRUSTI & DOES I-V, in their
official & individual capacities;
QUALCOMM STADIUM, an independent
municipal agency; VOLUME SERVICES
OF AMERICA dba MURPHY'S CLUB;
MURPHY’S CLUB; HENRY FONTENETTE,
MICHAEL OLIVER & DOES VI-X, in
their representative & individual
capacities; ELITE SHOW SERVICES,
Inc.; DONALD WILLIAMS, VLADIMIR
ATABEKIAN & DOES XI-XV, in their
representative & individual
capacities; SAN DIEGO CHARGERS,
INC.; DOES XVI-XX,

Defendants.

 

 

deprivation by Defendants of Plaintiff's rights,

immunities, secured by the First,

to

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01 eV 1973 Lt

Case No.

COMPLAINT FOR DAMAGES AND
FOR INJUNCTIVE RELIEF

[42 U.S.C. sec.1983 &
Pendent State Claims}

JURY DEMANDED

1. This is an action at law and in equity to redress the

the Constitution of the

|

United States,

privileges and

Fourth and Fourteenth Amendments

said deprivation of

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Plaintiff's rights by Defendants being at all times under the color
of state law, in derogation of Plaintiff's rights secured by
42 U.S.C. sec.1983.,

COMMON ALLEGATIONS AS TO ALL DEFENDANTS AND
ALL FEDERAL AND PENDENT STATE CLAIMS

2. The jurisdiction of this Court is invoked under 28 U.S.C.
sec.1343, this being an action authorized by law to redress the
deprivation under color of state law, statute, ordinance,
regulation, custom and usage of a right, privilege or immunity
secured to Plaintiff by the First, Fourth and Fourteenth Amendments
to the Constitution of the United States, as secured by 42 U.S.C.
sec.1983.

3. Plaintiff is Elizabeth M. Acosta.

4. At all times pertinent to this Complaint: Defendant CITY
OF SAN DIEGO [“City”’] is a municipal corporation and a unit of
local government duly formed and authorized under the laws of the
State of California. As part of its governing function, and
pursuant to enabling provisions under the California Government
Code, the City provides and administers the SAN DIEGO POLICE
DEPARTMENT [“SDPD’], and in accordance therewith employs persons
responsible for law enforcement and the investigation and
prosecution of public offenses; owns and administers Defendant
Qualcomm Stadium, an independent municipal agency; contracts with
Defendant Volume Services of America, Inc. d.b.a. Murphy’s Club and
Murphy's Club to provide a restaurant-bar within Qualcomm Stadium;
and contracts with Defendant Elite Security Agency, Inc. to provide
security services during stadium events, including football games.

5. At all times pertinent to this Complaint: Defendant

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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QUALCOMM STADIUM [“Qualcomm’] is an independent municipal agency of
Defendant City of San Diego, operating under the laws of the State
of California and the laws and administration of Defendant City of
San Diego, which rents its stadium facilities to Defendant San
Diego Chargers, to play professional football competition under the
National Football League; rents its service facilities to
Defendants Volume Services of America d.b.a. Murphy’s Club, and
Murphy’s Ciub, a restaurant~-bar; employs Defendant Elite Security
Agency, Inc. for security during football and other stadium events;
and employs San Diege Police Officers for additional security
during football and other stadium events.

6. At all times pertinent to this Complaint: Defendant SAN
DIEGO CHARGERS, INC. {“Chargers”] is a California Corporation which
operates a professional football team in the National Football
League, playing its home games in Defendant Qualcomm Stadium in the
County of San Diego; employs Defendant Elite Security Agency, Inc.
for security during football games; and employs individual San
Diego Police Officers for additional security and law enforcement
during football games.

7. At all times pertinent to this Complaint: Defendant VOLUME
SERVICES OF AMERICA, INC. d.b.a. MURPHY’S CLUB [“Murphy’s Club’ ]
is a foreign corporation doing business in the State of California,
County of San Diego, under the d.b.a. MURPHY’S CLUB, providing a
restaurant~bar within Defendant Qualcomm Stadium, serving as a
sports bar during stadium events, including professional football
games of Defendant San Diego Chargers; employs Defendant Elite
Security Agency, Inc. to provide security services while in

operation during stadium events; and employs individuals to provide

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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1 | internal security and to control patrons within the bar. Defendant
2" MURPHY’S CLUB is the entity under which Defendant VOLUME SERVICES
3) OF AMERICA, INC. operates in Defendant Qualcomm Stadium.
4 8. At all times pertinent to this Complaint: Defendant ELITE
5 || SHOW SERVICES, INC. [“Elite Security”] is a California Corporation
6 || which provides security on a contract basis in the County of San
7} Diego; in accordance therewith provides security for Defendants
8 || Qualcomm Stadium, San Diego Chargers, Inc. and Volume Services of
9] America, Inc. d.b.a. Murphy’s Club during stadium events, including
10 | Charger football games; and employs individual persons as security
11 4 guards.
12 9. At all times pertinent to this Complaint: Defendants
13} Officers GARY HILL, JOSEPH KROUSS, ERIC STAFFORD, RAPHAEL
14 || CIMARRUSTIE, and DOES I-V were and are duly appointed as sworn
15] peace officers of the State of California, employed by Defendant
16 |} City of San Diego as police officers; further, they were employed
17 || to provide security and law enforcement at Defendants Qualcomm
18 |} Stadium during a football game stadium event; and they reside in
19} the County of San Diego. All cof these individual defendants are
20 }sued in their individual and official capacities, and are
21 hereinafter collectively referenced as the “individual SDPD
22 Defendants”. Defendant City of San Diego and the individual SDPD
23 ] Defendants are collectively referred to as the “City Defendants.”
24 10. At all times pertinent to this Complaint: Defendants
25 || HENRY FONTENETTE, MICHAEL OLIVER and DOES VI-X were and are
26 | employed as unlicensed private security [“bouncers”] by Defendant
27) Volume Services of America, Inc. d.b.a. Murphy’s Club and by

28 | Murphy's Club; and they reside in the County of San Diego. All of

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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these individual defendants are sued in their individual and
representative capacities, and are hereinafter collectively
referenced as the “individual Murphy's Club Defendants”.
Defendants Volume Services of America, Inc. d.b.a. Murphy’s Club,
Murphy’s Club and the individual Murphy’s Club Defendants are
collectively referred to as the “Murphy’s Club Defendants.”

11. At all times pertinent to this Complaint: Defendants
DONALD WILLIAMS, VLADIMIR ATABEKIAN and DOES XI-XV were and are
employed as licensed private security guards by Defendant Elite
Security Agency, Inc.; and they reside within the County of San
Diego. All of these individual defendants are sued in their
individual and representative capacities, and are hereinafter
collectively referenced as the “individual Elite Security
Defendants”. Defendants Elite Security Agency, Inc. and the
individual Elite Security Defendants are collectively referred to
as the “Elite Security Defendants.”

12. At all times pertinent to this Complaint: Defendant DOES
I-V¥ were and are other unknown individual SDPD officers involved in
the events herein; DOES VI-X are other unknown individual Murphy's
Club bouncers involved in the events herein; DOES XI-XV are other
unknown individual Elite Security guards involved in the events
herein; and DOES XVI-XX are unknown entities with a legal interest
in, who employed or contracted with, or held governing,
administrative or supervisory authority over, other entity or
individual defendants herein. This complaint will be amended and
the true names of the Doe defendants added when their true
identities are learned by plaintiff.

13. At ail times pertinent to this Complaint: the individual

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SDPD Defendants acted under color of their official capacities;
further, these defendants acted separately and in concert under
color of the statutes, ordinances, regulations, customs and usages
of the State of California and the City of San Diego.

14. At all times pertinent to this Complaint: the individual
SDPD Defendants separately and in concert executed the policies and
customs established by directive and/or practice, by the City of
San Diego, or officials empowered by law to make or express policy
for the City of San Diego; further, the City of San Diego and
those officials empowered by law to make or express policy for the
City of San Diego have, by words, action and/or inaction caused
and/or ratified the unlawful acts of the individual Defendants,
including but not limited to a failure to adequately train and/or
discipline the individual Defendants, and a failure to prevent
future misconduct and harm of which said policy-makers knew or
reasonably should have known.

15. At all times pertinent to this Complaint: all of the
individual and private entity defendants were acting in concert
with the public defendants who were duly sworn peace officers in
the State of California, each of them appointed and employed by the
City of San Diego, and who at relevant times herein acted under
color of their official capacities under color of the statutes,
ordinances, regulations, customs and usages of the State of
California and/or the City of San Diego.

16. At all times pertinent to this Complaint: all of the
individual and private entity defendants were acting under color of

law in that their authority to commit the acts of which they are

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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accused herein is provided under the authority and/or laws of the
State of California and the City of San Diego.

17. At all times pertinent to this Complaint: each of the
private and public defendants, both individuals and entities, were
acting as agents, employees and/or principals of each other;
further, each of the private defendants were acting as principals
under which police officers were acting as their agents or in
concert with them, as provided under state law; further, the
private defendants were acting under the direction, advice and
control of the defendant officers; and each entity defendant is
liable by respondeat superior for all of the acts of each other
defendant, except as limited by law for the City of San Diego in
respect to the individual SDPD Defendants.

18. At all times pertinent to this Complaint: all of the
individual and private entity defendants were acting under color of
their representative capacities; further, said individual and
private entity defendants were at all times acting within the
course and scope of their employment and agency by their respective
defendant entity employers and principals, and further acting as
authorized agents for their employer, principals and each other.

19. At all times pertinent to this Complaint: each of the
entity defendants authorized and/or caused the individual
defendants to take the actions they took in respect to plaintiff,
including but not limited to a failure to adequately train and/or
supervise the individual defendants.

20. At all times pertinent to this Complaint: each of the
private entity defendants and those corporate and/or partnership

and/or company officials and agents empowered and authorized to

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make decisions on behalf of the respective private entity
defendants have, by words, action and/or inaction authorized,
caused and/or ratified the acts of the individual private
defendants, including but not limited to a failure to discipline
them and others, nor to take any other appropriate corrective
action, and having knowledge of the relevant surrounding
circumstances.

21, The individual Defendants, separately and in concert,
conspired to engage and engaged in the illegal conduct here
mentioned, or joined the conspiracy of others, to the injury of
Plaintiff of the rights, privileges and immunities secured to
Plaintiff by the First, Fourth and Fourteenth Amendments to the
Constitution of the United States and the laws of the United States
and the State of California. One or more of said Defendants acted
in furtherance of said conspiracy.

22. The individual Defendants, separately and in concert,
conspired to engage and engaged in the illegal conduct here
mentioned, or joined the conspiracy of others, to the injury of
Plaintiff of the rights, privileges and immunities secured to
Plaintiff by the Constitution and laws of the State of California,
thereby denying Plaintiff the equal protection of the laws of the
State of California, a right secured to Plaintiff by the Fourteenth
Amendment to the Constitution of the United States. One or more of
said Defendants acted in furtherance of said conspiracy.

23. At all times pertinent to this Complaint: The
Defendants, and each of them, knew or should have known that the
wrongs here mentioned involving Plaintiff were about to be

committed; and further the Defendants had the power to prevent or

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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aid in preventing the commission of the same. Despite this, said
Defendants refused and/or failed to prevent or aid in the
preventing the commission of said wrongs, and said wrongs were in
fact committed, denying Plaintiff her rights secured under the
First, Fourth and Fourteenth Amendments to the Constitution.

24. At all times pertinent to this Complaint: the Defendants
have conspired among one another, and with other persons not named
herein and whose identities are unknown at present, to commit the
unlawful acts described herein, and one or more acts in furtherance
of said conspiracy have been committed.

25. Each of the Defendants participated in and/or caused the
unlawful conduct mentioned herein.

26. Each of the Defendants herein knew or should have known
that the wrongs here mentioned were being or about to be committed,
whether by other defendants, or by public and/or police officers
acting as agents of or in concert with one or more of the private
defendants, and further had the power to prevent or aid in
preventing the commission of the same or the injuries and damages
arising therefrom. Despite this, said Defendants deliberately
refused and/or failed to prevent or aid in the preventing the
commission of said wrongs or infliction of said damages, and said
wrongs were in fact committed and damages suffered, denying
Plaintiff her rights secured under the First, Fourth and Fourteenth
Amendments to the Constitution of the United States.

27. By contract and state and municipal law, Defendants
Qualcomm Stadium and San Diego Chargers, and their contract

entities and individual employees, act and operate as public or

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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quasi-public agencies with public authority and under color of law
of the State of California and the City of San Diego.

28. Pursuant to policy of Defendants Qualcomm, Chargers and
Elite Security, patrons who engage in unlawful fighting or other
disruptive behavior within the stadium during football games, or
otherwise violate stadium rules, may be ejected from the stadium,
within the discretion of stadium officials and security. Ejected
patrons are photographed and recorded, to protect against any
attempt to re-enter during that event.

29. Pursuant to policy of Murphy’s Club, patrons who engage
in unlawful fighting or disruptive behavior within the club, or who
otherwise violate club rules, may be ejected from the club, within
the discretion of club officials and security; and if such patrons
resist or are to be also ejected from the stadium, bouncers are not
to use physical force except in self-defense and security guards
from Elite Security and/or police officers are to be summoned to
enforce the ejection. These bar policies, including the
prohibition against use of non-defensive force, are standard in the
bar business.

30. SDPD Officers providing stadium security and law
enforcement are at all times acting as peace officers, with the
full authority as provided them by the State of California and the
City of San Diego. They are empowered to eject patrons when
lawfully requested by officials of Qualcomm Stadium, the Charger,
Murphy’s Club and/or Elite Security, in enforcement of State and
City laws governing trespass; and to make arrests as authorized by

the laws of the State of California and City of San Diego.

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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31, Pursuant to SDPD policy, persons arrested within Qualcomm
Stadium are taken to an SDPD holding area within the stadiun,
wherein there is a camera system to videotape persons being brought
in and being held in custody to assure a videotape record of their
condition and circumstances while under restraint and arrest.

32. Pursuant to SDPD Use of Force Policy, officers are
afforded discretion to utilize the carotid choke hold, by which the
person is rendered unconscious by cutting off the oxygen supply to
the brain via the carotid arteries; and to use a form of maximum
restraint informally known as “hogtying” by which the person is
handcuffed behind her back, her legs are also bound with a strap,
and the legs are then strapped and tied backward to the cuffed
hands. These forms of restraint can cause and have caused death,
but are not treated as forms of deadly force under SDPD policy.

33. SDPD Use of Force Policy provides specific guidelines for
the manner in which the carotid hoid and the referenced maximum
restraint is administered, some whose protocols are designed to
reduce the risk of death to the person restrained.

34. SDPD Use of Force Policy also provides for a method of
restraining a person, when four (4) or more officers are present
and available, which involves the officers each restraining one of
the person’s limbs.

FEDERAL CLAIMS AGAINST INDIVIDUAL DEFENDANTS

35. On October 29, 2000, the Chargers played a football game,
hosting the Oakland Raiders, at Qualcomm Stadium. Murphy’s Club
was open for business during the game, with Defendants Fontenette
and Oliver on duty as bouncers; Elite Security was providing

security, with Defendants Williams and Atabekian on duty; and

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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Defendant SDPD Officers Hill, Krouss, Stafford and Cimarrusti were
on duty, with Hill and Krouss assigned as a team to the parking lot
outside the stadium, and Stafford and Cimarrusti assigned as a team
within the stadium.

36. Defendant Murphy's Club bouncers Fontenette and Oliver,
by plaintiff’s estimate, were over 6' tall and over 250 lbs. each.

37. Defendant Elite Security guards Williams and Atabekian,
by plaintiff’s estimate, were of average height and weight.

38. Defendant SDPD Officer Hill was 6'0" and 325 lbs. and is
grossly out of shape. Defendant SDPD Officer Krouss was 6'4” and
300 lbs. Defendant SDPD Officers Stafford and Cimarrusti, by
plaintiff's estimate, were of average height and weight.

39. Plaintiff, her father Robert Acosta, Sr., her brother
Robert Acosta, Jr., and the latter’s wife and her sister-in-law,
Susan Acosta, attended the Charger-Raider game in Qualcomm Stadium
on October 29, 2000.

40. Plaintiff and Susan Acosta dressed in black for the game,
signifying the Raider colors and their support for the visiting
team. Plaintiff was then 5'4" and 140 lbs.

41. Plaintiff's employment at the time in October 2000 was as
a bartender, who had served in that capacity for a number of years;
and as a newly licensed real estate agent.

42. Prior to the game, Plaintiff and her family held a
tailgate party in the parking lot of Qualcomm Stadium. During the
tailgate party and the game, Plaintiff drank lightly, while Susan
Acosta drank more heavily.

43. During the game, Plaintiff and Susan Acosta left their

seats and, while walking around the stadium, entered Murphy's Club

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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and paraded through the dense, loud and mostly Charger fan crowd,
yelling Raider chants.

44, Within two (2) minutes of their entry into Murphy’s Club,
Plaintiff and Susan Acosta were accosted by Defendant bouncers
Fontenette and Oliver and were ejected. Fontenette, in directing
Plaintiff to leave, took hold of her arm, and Plaintiff pulled away
and told him not to touch her. Plaintiff did not refuse to leave,
but Fontenette and Oliver, without waiting or speaking further,
immediately seized hold of Plaintiff, by the shoulders and legs,
and carried her out suspended in air, to loud cheers of the Charger
fans.

45. Susan Acosta followed Plaintiff and the bouncers from the
Murphy's Club, and engaged in a vulgar exchange with two (2) other
patrons as they left, with Susan Acosta also using a racial slur.
Plaintiff said nothing and did not resist; nor did she hear and nor
was she aware of the verbal exchange between Susan Acosta and the
other female patrons.

46. Outside Murphy's Club, Defendants Fontenette and Oliver
put Plaintiff down, spoke with both Plaintiff and Susan Acosta, and
instructed them net to return to the club. They did not eject them
from the stadium, nor then summon Elite Security nor SDPD Officers.
Plaintiff and Susan Acosta walked away after the conversation with
the bouncers concluded.

47. Plaintiff and Susan Acosta then returned to their seats.
Shortly thereafter, Plaintiff accompanied Susan Acosta when she
again left her seat to use the stadium restroom.

48. While walking toward the restroom, Plaintiff and Susan

Acosta passed within hailing distance those other patrons with

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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which Susan Acosta had had the verbal exchange as she left Murphy’s
Club. The patrons and Susan Acosta resumed their verbal exchange,
with the patrons declaring that they thought they had been ejected
from the game and would have them ejected from the stadium, and
Susan Acosta repeating the racial slur, as she also walked closer
to the other patrons. Plaintiff did not participate in the verbal
exchange, and did not join Susan Acosta when she approached the
other patrons.

49, The other patrons then walked away, and Susan Acosta went
into the restroom, while Plaintiff waited for her outside the door.

50. While Plaintiff was waiting for Susan Acosta outside the
door of the stadium restroom, she was approached by Defendant
Security Guards Atabekian and Williams, and then by SDPD Officers
Hill and Krouss, who asked her to accompany them to the Elite
Security Office to check whether she had been previously ejected
from the game; and requested identification.

5l. Defendant SDPD Officers Hill and Krouss were out of
position when they were inside the stadium, having left their posts
in the parking lot.

52. Defendant Hill had spoken with security within Murphy’s
Club. Defendants Fontenette and Oliver falsely accused Plaintiff
of engaging in fighting within the club.

53. Defendant Fontenette claimed that he first saw Plaintiff
from a distance within Murphy's Club, trying to physically pull
Susan Acosta from the grip of Defendant Oliver. He claimed that he
did not see what originally instigated Oliver to seize Susan
Acosta, but that Oliver later told him that Plaintiff and Susan

Acosta had harassed and/or been fighting with other patrons. He

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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also claimed that he then sought to pull Plaintiff from Oliver and
Susan Acosta; that Plaintiff then struck and kicked him; that he
and Oliver then carried her out of the club; and that he did not
seek to eject them from the stadium, but instructed them not to
return to the club.

54. Defendant Oliver claimed that he first saw Plaintiff from
a distance within Murphy’s Club, resisting, striking and kicking
Defendant Fontenette. He claimed that he did not see what
originally instigated Fontenette to seize Plaintiff, but that
Fontenette later told him that Plaintiff had harassed and/or been
fighting with other patrons. He also denied any awareness of Susan
Acosta, or any contact with her or any other associate of
Plaintiff; but admitted that he aided Fontenette in carrying
Plaintiff from the club; and that upon her ejection, she was told
not to return to the club.

55. Defendant SDPD Officer Hill claims that he spoke with
Defendant Fontenette, whe informed him that Plaintiff had been
fighting in Murphy’s Club; had been ejected from the club; and that
he intended to eject her and Susan Acosta from the stadium, but
they ran way before he could do so. Defendant Fontenette denies
speaking to Defendant Hill prior to Plaintiff’s arrest; he did
Speak with Defendant SDPD Officer Stafford later, and gave the
largely false version of events set forth in Paragraph 53 after
seeing Plaintiff carried out in hogtied position.

56. Defendant Oliver spoke to Defendant Officer SDPD Hill,
and gave him the largely falsified version of events set forth in

Paragraph 54.

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57. Plaintiff responded to Defendants Hill, Krouss, Atebekian
and Williams by attempting to say that she had not been ejected, by
attempting to explain what had happened at Murphy’s Club, and by
attempting to say that she did not have identification on her but
could retrieve it.

58. Defendants Hill, Krouss, Atabekian and Williams would not
permit Plaintiff to speak, and then ordered her to leave the
stadium. When Plaintiff again attempted to speak and explain, she
was placed under arrest without warning by Defendant Hill, who with
excessive force from the outset attempted, also without warning, to
turn Plaintiff around and handcuff her.

59. When Plaintiff did not respond promptly enough to the
initial use of force as above-described, Defendant SDPD Officer
Hill then immediately escalated the use of force to the use of
deadly force in the form of the carotid choke hold.

60. Defendant SDPD Officer Hill, apparently unable to utilize
lesser levels of force which also require reasonably adequate
physical fitness and agility, has frequently used the carotid hold
in the past, but is inadequately trained and is incompetent in the
circumstances of its lawful use and proper implementation. He is
unfamiliar with SDPD policy and training on its lawful use and
proper implementation, and did not utilize those in applying the
hold. Defendant Hill was actually garroting Plaintiff, with her
feet off the ground, at times choking her at her windpipe, for up
to 1-3 minutes, until he ceased as she went unconscious from lack
of air in her lungs.

61. The manner in which Defendant Hill was choking Plaintiff

and suspending her by her neck put her at risk of death or serious

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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bodily injury; indeed, a heavier person would likely have suffered
a broken neck.

62. The manner in which Defendant Hill choked Plaintiff
constituted deadly force, even though Plaintiff at no time used any
unlawful force which would justify any use of force by the
officers, much less deadly force.

63. As Plaintiff flailed in self-defense and struggle for
life while the illegal and improper choke hold was being
administered, Defendant SDPD Officer Hill ceased choking Plaintiff
and, with the assistance of SDPD Officer Krouss threw Plaintiff to
the pavement, face first, and handcuffed her behind her back; then,
Officers Hill and Krouss, joined by Officer Stafford, hogtied
Plaintiff; then the officers left Plaintiff face down on the
pavement in the hogtied position for a substantial period of time;
and then later carried her cut face down, suspended by her arms and
legs, contrary to safe procedures and putting her in great pain in
her shoulders.

64. Defendant SDPD Officer Hill, apparently unable to utilize
lesser levels of force which also require reasonably adequate
physical fitness and agility, has frequently used the hogtie
restraint in the past, but is inadequately trained and is
incompetent in the circumstances of its lawful use and proper
implementation. He is unfamiliar with SDPD policy and training on
its lawful use and proper implementation, and did not utilize those
in applying the restraint or in carrying the restrained suspect.
He is also unfamiliar with other lesser forms of restraint for
resisting offenders, including those available when there are other

officers present to assist.

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65. Defendant SDPD Officers Krouss and Stafford are
inadequately trained and incompetent in the circumstances for
lawful use and proper implementation of the maximum restraint
“hogtying’. They are unfamiliar with SDPD policy and training on
its lawful use and proper implementation, and did not utilize those
in applying the restraint or in carrying the restrained suspect.
They are also unfamiliar with other lesser forms of restraint for
resisting offenders, including those available when there are other
officers present to assist.

66. The manner in which Defendants Hill, Krouss and Stafford
controlied and restrained Plaintiff constituted deadly force, even
though Plaintiff at no time used any unlawful force which would
justify any use of force by the officers, much less deadly force.

67. The manner in which Defendants Hill, Krouss and Stafford
hogtied Plaintiff, then placed her face down on the pavement, then
carried her our face down and suspended by her limbs, put her at
risk of death or serious bodily injury; indeed, a heavier person
would likely have suffered death or serious injury.

68. Defendant Blite Security guards Atebekian and Williams
assisted SDPD Officers Hill and Krouss in the use of force on
Plaintiff while she was being choked and hogtied, each of them also
using separately and in concert unlawful, unnecessary, unreasonable
and excessive force on Plaintiff.

69. Plaintiff was carried to the holding area in the stadium,
wherein the videotaping system was accidentally not turn on,
leaving no film record.

70. Defendant SDPD Officer Cimarrusti permitted Susan Acosta,

who had emerged from the restroom in the interim, to go and

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1] retrieve Plaintiff's father, who she identified as a peace officer.
2 || Officer Cimarrusti informed Officer Acosta where the holding area
3} was located, but officers in the holding area refused to permit
4 || Officer Acosta to see or speak with his daughter.
5 Ji. Plaintiff suffered numerous bruises and soreness on her
6 body, and injury and soreness to her shoulders, neck and back area.
7 72. Plaintiff was arrested initially for trespass, and
8 | thereafter arrested and charged with misdemeanors of assault and
9 || battery on peace officers; assault and battery on security guards;
10} and resisting arrest by police officers.
11 73. There was no probable cause for the warrantless arrest of
12 || Plaintiff on any of the charges, in violation of her rights under
13 } the Fourth Amendment.
14 74. The conduct of the Defendant SDPD Officers Hill, Krouss
15 |/and Stafford constituted unlawful, unnecessary, excessive and
16 fl unreasonable use of force, in violation of her rights under the
17 | Fourth Amendment.
18 75. The unlawful, unnecessary, unreasonable and excessive
19} force employed in the arrest was at all times unreasonable under
20 the totality of the circumstances and thereby violated the Fourth
21 || Amendment rights of Plaintiff.
22 76. Thereafter, the individual SDPD Officers, and each of
23 |}them, filed falsified police reports, also containing material
24 | omissions concerning the unlawful conduct of defendants and the
25 |}justifying circumstances for Plaintiff’s conduct; which
26 || misrepresented the true facts of what had occurred, falsely stating
27] and suggesting that Plaintiff had committed crimes in Murphy’s Club

28 ||and in response to efforts to eject and arrest her; and falsely

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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characterized events to support false conclusions that there was
probable cause for Plaintiff's arrest and subsequent prosecution on
those charges, and false conclusions that the use of force by
Plaintiff justified the use of force by the officers.

77. Thereafter, the individual Elite Security Guards and
Murphy’s Club bouncers, and each of them, gave false statements
also containing material omissions concerning the unlawful conduct
of defendants and the justifying circumstances for Plaintiff’s
conduct; which misrepresented the true facts of what had occurred,
falsely stating and suggesting that Plaintiff had committed crimes
in Murphy’s Club and in response to efforts to eject and arrest
her; and falsely characterized events to support false conclusions
that there was probable cause for Plaintiff’s ejection, arrest and
subsequent prosecution on those charges, and false conclusions that
the use of force by Plaintiff justified the use of force by the
bouncers, security guards and officers.

78. Based on the falsified submissions of the individual
Defendants, the San Diego Office of City Attorney issued a criminal
misdemeanor complaint against Plaintiff - i.e. as a result of the
aforementioned false reports and statements, and the underlying
unlawful conduct, Plaintiff was prosecuted on the charges for which
she was arrested. Those false reports and statements were
submitted to maliciously prosecute Plaintiff.

79, The aforementioned false reports and statements were
intended to cause the prosecution and conviction of Plaintiff on
false charges in order to justify the unlawful, unnecessary,
excessive and unreasonable use of force by the individual defendant

bouncers, officers and security guards; to justify the unlawful and

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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unreasonable ejection and arrest of Plaintiff; and to protect each
and all of them, and their employers and principals, from the
threat and risk of criminal and civil sanction and/or civil damages
and other remedies. This constitutes a malicious, unlawful and
improper ulterior motive for the prosecution and an abuse by the
individual defendants of the process of the criminal courts.

80. There was no probable cause for the malicious prosecution
cof Plaintiff on any of the charges, nor for the abuse of process
directed to Plaintiff, in violation of her rights under the Fourth
Amendment.

81. The false arrest and unlawful use of force by the
individual SDPD Officer defendants Hill, Krouse and Stafford denied
Plaintiff’s free speech rights under the First Amendment when she
sought to exercise those rights in the initial contact with
Plaintiff, when she sought to explain herself and clarify the
circumstances which were being misapprehended and misrepresented.

82. The malicious prosecution and abuse of process by all of
the individual defendants were designed to frustrate Plaintiff in
the anticipated exercise of her First Amendment rights to seek
administrative or civil redress for their false arrest and unlawful
use of force, and the other misconduct leading to those abuses of
authority and criminal acts against Plaintiff.

83. On June 19, 2001, following trial by jury, Plaintiff was
acquitted on all charges.

FEDERAL CLAIMS AGAINST ENTITY DEFENDANTS
84. Plaintiff incorporates by reference herein Paragraphs

1-83 of this Compiaint, as though fully set forth.

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85. Training in use of force, particularly in the lawful
circumstances and proper implementation of restraints which pose a
reasonably anticipated potential for death or serious bodily
injury, and the preparation of police reports is of such importance
in preserving the rights of persons affected that the failure to
provide it adequately would constitute deliberate indifference to
the constitutional rights of those whose rights are violated
because of their improper or unlawful use.

86. The training of the SDPD Defendants was inadequate in
that their conduct herein has been manifestly inconsistent with the
standards of training mandated by state and federal law, designed
and intended to accommodate the constitutional obligations of
police officers to respect the constitutional rights of persons
with whom police officers come into contact while performing their
law enforcement responsibilities.

Si. The aforementioned conduct of the individual SDPD
Officers was caused by the policies, and lack thereof, and by the
lack of adequate training and supervision by the City and SDPD;
further, the latter entities ratified the misconduct of these
officers despite being aware of the totality of the true
circumstances.

88. The aforementioned conduct of the individual Murphy's
Club bouncers and Elite Security guards SDPD was caused by the
policies, and lack thereof, and by the lack of adequate training
and supervision by all of the entity defendants herein; further,
the latter entities ratified the misconduct of these officers
despite being aware of the totality of the true circumstances;

further, the entity defendants herein have been negligent and acted

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in reckless disregard for the rights of Plaintiff and other patrons
by their inadequate policies, as well as the hiring, retention,
training and supervision of the individual defendants by their
respective employers and principals having control over these
matters, and the duty to exercise it, by law or contract.

89. The individual Defendants, and each of them, in engaging
in the aforementioned conduct, intended to deprive Plaintiff of her
liberty without due process of law.

90. The individual Defendants, and each of them, in engaging
in the aforementioned conduct, acted arbitrarily and capriciously
~-- i.e. without a rational basis therefor.

91. Defendant SDPD Officers Hill, Krouss and Stafford, in
their conduct once plaintiff was in custody, acted with callous
indifference to Plaintiff’s rights and personal well-being, in
violation of her rights under the Due Process Clause of the
Fourteenth Amendment.

PENDENT STATE CLAIMS

Plaintiff hereby further alleges the following state claims
under the laws and Constitution of the State of California under
the pendent jurisdiction of the federal courts for claims related
to the above-described federal question civil rights claims under
28 U.S.C. sec.1343; 42 U.S.C. sec.i1983; and the First, Fourth and
Fourteenth Amendments and Article III of the Constitution of the
United States.

FIRST STATE CAUSE OF ACTION
[Assault and Battery]
[MURPHY’S CLUB; FONTENETTE; OLIVER;
DOES VI-X & XVII-XVIII]

92. Plaintiff incorporates by reference herein Paragraphs

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1-91 of this Complaint, as though fully set forth.

93. On October 29, 2000, the Chargers played a football game,
hosting the Oakland Raiders, at Qualcomm Stadium. Murphy’s Club
was open for business during the game, with Defendants Fontenette
and Oliver on duty as bouncers; Elite Security was providing
security, with Defendants Williams and Atabekian on duty; and
Defendant SDPD Officers Hill, Krouss, Stafford and Cimarrusti were
on duty, with Hill and Krouss assigned as a team to the parking lot
outside the stadium, and Stafford and Cimarrusti assigned as a team
within the stadium.

94. Defendant Murphy’s Club bouncers Fontenette and Oliver,
by plaintiff's estimate, were over 6' tall and over 250 lbs. each.

95. Defendant Elite Security guards Williams and Atabekian,
by plaintiff's estimate, were of average height and weight.

96. Defendant SDPD Officer Hill was 6'0" and 325 lbs. and is
grossly out of shape. Defendant SDPD Officer Krouss was 6'4" and
300 lbs. Defendant SDPD Officers Stafford and Cimarrusti, by
plaintiff’s estimate, were of average height and weight.

97, Plaintiff, her father Robert Acosta, Sr., her brother
Robert Acosta, Jr., and the latter’s wife and her sister-in-law,
Susan Acosta, attended the Charger-Raider game in Qualcomm Stadium
on October 29, 2000.

98. Plaintiff and Susan Acosta dressed in black for the game,
signifying the Raider colors and their support for the visiting
team. Plaintiff was then 5'4" and 140 lbs.

99. Plaintiff's employment at the time in October 2000 was as
a bartender, who had served in that capacity for a number of years;

and as a newly licensed real estate agent.

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100. Prior to the game, Plaintiff and her family held a
tailgate party in the parking lot of Qualcomm Stadium. During the
tailgate party and the game, Plaintiff drank lightly, while Susan
Acosta drank more heavily.

101. During the game, Plaintiff and Susan Acosta left their
seats and, while walking around the stadium, entered Murphy’s Club
and paraded through the dense, loud and mostly Charger fan crowd,
yelling Raider chants.

102. Within two (2) minutes of their entry into Murphy’s
Club, Plaintiff and Susan Acosta were accosted by Defendant
bouncers Fontenette and Oliver and were ejected. Fontenette, in
directing Plaintiff to leave, took hold of her arm, and Plaintiff
pulled away and told him not to touch her. Plaintiff did not
refuse to leave, but Fontenette and Oliver, without waiting or
speaking further, immediately seized hold of Plaintiff, by the
shoulders and legs, and carried her out suspended in air, to loud
cheers of the Charger fans.

103. Susan Acosta followed Plaintiff and the bouncers from
the Murphy's Club, and engaged in a vulgar exchange with two {2)
other patrons as they left, with Susan Acosta also using a racial
Slur. Plaintiff said nothing and did not resist; nor did she hear
and nor was she aware of the verbal exchange between Susan Acosta
and the other female patrons.

104, Outside Murphy’s Club, Defendants Fontenette and Oliver
put Plaintiff down, spoke with both Plaintiff and Susan Acosta, and
instructed them not to return to the club. They did not eject them

from the stadium, nor then summon Elite Security nor SDPD Officers.

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1 || Plaintiff and Susan Acosta waiked away after the conversation with

2 ithe bouncers concluded.

3 SECOND STATE CAUSE OF ACTION
[Assault and Battery]
4 (CITY; QUALCOMM STADIUM; CHARGERS; ELITE SECURITY;
HILL; KROUSS; STAFFORD; ATEBEKIAN; WILLIAMS;
5 DOES I-V, XI-XVI & XIX-XX]
6 105. Plaintiff incorporates by reference herein Paragraphs

71-104 of this Complaint, as though fully set forth.

8 106. Plaintiff and Susan Acosta then returned to their seats.
9} Shortly thereafter, Plaintiff accompanied Susan Acosta when she
10 }) again left her seat to use the stadium restroom.

11 107. While walking toward the restroom, Plaintiff and Susan
12 Acosta passed within hailing distance those other patrons with
13 || which Susan Acosta had had the verbal exchange as she left Murphy's
14]}Club. The patrons and Susan Acosta resumed their verbal exchange,
15 ||} with the patrons declaring that they thought they had been ejected
16 || from the game and would have them ejected from the stadium, and
17 | Susan Acosta repeating the racial slur, as she also walked closer
18 |} to the other patrons. Plaintiff did not participate in the verbal
19} exchange, and did not join Susan Acosta when she approached the
20 | other patrons.

21 108. The other patrons then walked away, and Susan Acosta
22 |} went into the restroom, while Plaintiff waited for her outside the
23 {| door.

24 109. While Plaintiff was waiting for Susan Acosta outside the
25 || door of the stadium restroom, she was approached by Defendant
26 || Security Guards Atabekian and Williams, and then by SDPD Officers

27 ||Hill and Krouss, who asked her to accompany them to the Elite

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Security Office to check whether she had been previously ejected
from the game, and requested identification.

110. Defendant SDPD Officers Hill and Krouss were out of
position when they were inside the stadium, having left their posts
in the parking lot.

111. Defendant Hill had spoken with security within Murphy’s
Club. Defendants Fontenette and Oliver falsely accused Plaintiff
of engaging in fighting within the club.

112. Defendant Fontenette claimed that he first saw Plaintiff
from a distance within Murphy’s Club, trying to physically pull
Susan Acosta from the grip of Defendant Oliver. He claimed that he
did not see what originally instigated Oliver to seize Susan
Acosta, but that Oliver later told him that: Plaintiff and Susan
Acosta had harassed and/or been fighting with other patrons. He
also claimed that he then sought to pull Plaintiff from Oliver and
Susan Acosta; that Plaintiff then struck and kicked him; that he
and Oliver then carried her out of the club; and that he did not
seek to eject them from the stadium, but instructed them not to
return to the club.

113. Defendant Oliver claimed that he first saw Plaintiff
from a distance within Murphy’s Club, resisting, striking and
kicking Defendant Fontenette. He claimed that he did not see what
originally instigated Fontenette to seize Plaintiff, but that
Fontenette later told him that Plaintiff had harassed and/or been
fighting with other patrons. He also denied any awareness of Susan
Acosta, or any contact with her or any other associate of

Plaintiff; but admitted that he aided Fontenette in carrying

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Plaintiff from the club; and that upon her ejection, she was told
not to return to the club.

114. Defendant SDPD Officer Hill claims that he spoke with
Defendant Fontenette, who informed him that Plaintiff had been
fighting in Murphy’s Club; had been ejected from the club; and that
he intended to eject her and Susan Acosta from the stadium, but
they ran way before he could do so. Defendant Fontenette denies
speaking to Defendant Hill prior to Plaintiff’s arrest; he did
speak with Defendant SDPD Officer Stafford later, and gave the
largely false version of events set forth in Paragraph 53 after
seeing Plaintiff carried out in hogtied position.

115. Defendant Oliver spoke to Defendant Officer SDPD Hill,
and gave him the largely falsified version of events set forth in
Paragraph 54.

116. Plaintiff responded to Defendants Hill, Krouss,
Atebekian and Williams by attempting to say that she had not been
ejected, by attempting to explain what had happened at Murphy's
Club, and by attempting to say that she did not have identification
on her but could retrieve it.

117. Defendants Hill, Krouss, Atabekian and Williams would
not permit Plaintiff to speak, and then ordered her to leave the
stadium. When Plaintiff again attempted to speak and explain, she
was placed under arrest without warning by Defendant Hill, who with
excessive force from the outset attempted, also without warning, to
turn Plaintiff around and handcuff her.

118. When Plaintiff did not respond promptly enough to the

initial use of force as above-described, Defendant SDPD Officer

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Hill then immediately escalated the use of force to the use of
deadly force in the form of the carotid choke hold.

119. Defendant SDPD Officer Hill, apparently unable to
utilize lesser levels of force which also require reasonably
adequate physical fitness and agility, has frequently used the
carotid hold in the past, but is inadequately trained and is
incompetent in the circumstances of its lawful use and proper
implementation. He is unfamiliar with SDPD policy and training on
its lawful use and proper implementation, and did not utilize those
in applying the hold. Defendant Hill was actually garroting
Plaintiff, with her feet off the ground, at times choking her at
her windpipe, for up to 1-3 minutes, until he ceased as she went
unconscious from lack of air in her lungs.

120. The manner in which Defendant Hill was choking Plaintiff
and suspending her by her neck put her at risk of death or serious
bodily injury; indeed, a heavier person would likely have suffered
a broken neck.

121. The manner in which Defendant Hill choked Plaintiff
constituted deadly force, even though Plaintiff at no time used any
unlawful force which would justify any use of force by the
officers, much less deadly force.

122. As Plaintiff flailed in self-defense and struggle for
life while the illegal and improper choke hold was being
administered, Defendant SDPD Officer Hill ceased choking Plaintiff
and, with the assistance of SDPD Officer Krouss threw Plaintiff to
the pavement, face first, and handcuffed her behind her back; then,
Officers Hill and Krouss, joined by Officer Stafford, hogtied

Plaintiff; then the officers lteft Plaintiff face down on the

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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pavement in the hogtied position for a substantial period of time;
and then later carried her out face down, suspended by her arms and
legs, contrary to safe procedures and putting her in great pain in
her shoulders.

123. Defendant SDPD Officer Hill, apparently unable to utilize
lesser levels of force which also require reasonably adequate
physical fitness and agility, has frequently used the hogtie
restraint in the past, but is inadequately trained and is
incompetent in the circumstances of its lawful use and proper
implementation. He is unfamiliar with SDPD policy and training on
its lawful use and proper implementation, and did not utilize those
in applying the restraint or in carrying the restrained suspect.
He is also unfamiliar with other lesser forms of restraint for
resisting offenders, including those available when there are other
officers present to assist.

124. Defendant SDPD Officers Krouss and Stafford are
inadequately trained and incompetent in the circumstances for
lawful use and proper implementation of the maximum restraint
“hogtying”. They are unfamiliar with SDPD policy and training on
its lawful use and proper implementation, and did not utilize those
in applying the restraint or in carrying the restrained suspect.
They are also unfamiliar with other lesser forms of restraint for
resisting offenders, including those available when there are other
officers present to assist.

125. The manner in which Defendants Hill, Krouss and Stafford
controlled and restrained Plaintiff constituted deadly force, even
though Plaintiff at no time used any unlawful force which would

justify any use of force by the officers, much less deadly force.

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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126. The manner in which Defendants Hill, Krouss and Stafford
hogtied Plaintiff, then placed her face down on the pavement, then
carried her our face down and suspended by her limbs, put her at
risk of death or serious bodily injury; indeed, a heavier person
would likely have suffered death or serious injury.

127. Defendant Elite Security guards Atebekian and Williams
assisted SDPD Officers Hill and Krouss in the use of force on
Plaintiff while she was being choked and hogtied, each of them also
using separately and in concert unlawful, unnecessary, unreasonable
and excessive force on Plaintiff.

128. Plaintiff was carried to the holding area in the
stadium, wherein the videotaping system was accidentally not turn
on, leaving no film record.

129. Defendant SDPD Officer Cimarrusti permitted Susan
Acosta, who had emerged from the restroom in the interim, to go and
retrieve Plaintiff’s father, who she identified as a peace officer.
Officer Cimarrusti informed Officer Acosta where the holding area
was located, but officers in the holding area refused to permit
Officer Acosta to see or speak with his daughter.

130. Plaintiff suffered numerous bruises and soreness on her
body, and injury and soreness to her shoulders, neck and back area.

131. The conduct of the Defendant SDPD Officers Hill, Krouss
and Stafford constituted unlawful, unnecessary, excessive and
unreasonable use of force.

132. The unlawful, unnecessary, unreasonable and excessive
force employed in arrest was at all times unreasonable under the

totality of the circumstances.

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THIRD STATE CAUSE OF ACTION
[False Arrest & Imprisonment]

[CITY; QUALCOMM STADIUM; CHARGERS; ELITE SECURITY;
MURPHY’S CLUB; HILL; KROUSS; STAFFORD; OLIVER
FONTENETTE; ATEBEKIAN; WILLIAMS; DOES I-XX]

133. Plaintiff incorporates by reference herein Paragraphs
1-132 of this Complaint, as though fully set forth.

134. Plaintiff was arrested initially for trespass, and
thereafter arrested and charged with misdemeanors of assault and
battery on peace officers; assault and battery on security guards;
and resisting arrest by police officers.

135. There was no probable cause for the warrantless arrest
of Plaintiff on any of the charges.

136. Plaintiff did not commit any offense in the presence of
the individual defendant SDPD officers, nor in the presence of any
other sworn peace officer.

FOURTH CAUSE OF ACTION
{Unlawful Ejection & Discrimination Under Unruh Act]

(CITY; QUALCOMM STADIUM; CHARGERS; ELITE SECURITY;
MURPHY’S CLUB; HILL; KROUSS; STAFFORD; OLIVER
FONTENETTE; ATEBEKIAN; WILLIAMS; DOES I~XX]

137. Plaintiff incorporates by reference herein Paragraphs
1-136 of this Complaint, as though fully set forth.

138. Defendants Qualcomm Stadium and Chargers are public
accommodations as specified under the Unruh Act, California Civil
Code secs. 50 et seq.

139. Each and ail of the acts of the individual defendants
other than defendant SDPD Officer Cimmarrusti, caused and resulted
in the ejection of Plaintiff from the stadium and other

discriminatory acts, specified above, and directed against

Plaintiff, in violation of the Unruh Act.

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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1 140. The conduct of the individual defendants, other than
2 || defendant SDPD Officer Cimmarrusti, was at all times unlawfully
3 || discriminatory and arbitrary and capricious, and without lawful

4} justification under the Unruh Act.

5 FIFTH STATE CAUSE OF ACTION
{Malicious Prosecution]
6 [All Defendants]
7 141. Plaintiff incorporates by reference herein Paragraphs

811-140 of this Complaint, as though fully set forth.

9 142. Thereafter, the individual SDPD Officers, and each of
10 |}them, filed falsified police reports, also containing material
11} omissions concerning the unlawful conduct of defendants and the
12 | justifying circumstances for Plaintiff's conduct; which
13 |} misrepresented the true facts of what had occurred, falsely stating
14 ji and suggesting that Plaintiff had committed crimes in Murphy’s Club
15 || and in response to efforts to eject and arrest her; and falsely
16] characterized events to support false conclusions that there was
17 | probable cause for Plaintiff’s arrest and subsequent prosecution on
18 || those charges, and false conclusions that the use of force by
19} Plaintiff justified the use of force by the officers.

20 143. Thereafter, the individual Elite Security Guards and
21iMurphy’s Club bouncers, and each of them, gave false statements
22 }) also containing material omissions concerning the unlawful conduct
23 /of defendants and the justifying circumstances for Plaintiff's
24 || conduct; which misrepresented the true facts of what had occurred,
25) falsely stating and suggesting that Plaintiff had committed crimes
26 /in Murphy’s Club and in response to efforts to eject and arrest
27 her; and falsely characterized events to support false conclusions

28 | that there was probable cause for Plaintiff's ejection, arrest and

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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| subsequent prosecution on those charges, and false conclusions that
the use of force by Plaintiff justified the use of force by the
bouncers, security guards and officers,

144. Based on the falsified submissions of the individual
Defendants, the San Diego Office of City Attorney issued a criminal
misdemeanor complaint against Plaintiff - i.e. as a result of the
aforementioned false reports and statements, and the underlying
unlawful conduct, Plaintiff was prosecuted on the charges for which
she was arrested. Those false reports and statements were
submitted to maliciously prosecute Plaintiff.

145. The individual defendants sought the prosecution of
Plaintiff on the criminal charges for which she was prosecuted.

146. But for the falsified and materially misleading reports
and statements as above-described, there was no probable cause for
any of the criminal charges on which Plaintiff was prosecuted.

147. The criminal prosecution was concluded with a judgment
of acquittal in favor of Plaintiff - i.e. On June 19, 2001,
following trial by jury, Plaintiff was acquitted on all charges.

148. At all relevant times herein, the individual defendants,
in seeking the prosecution of Plaintiff and submitting the
falsified and materially misleading reports and statements, as
above-described, acted with malice.

SIXTH STATE CAUSE OF ACTION
[Abuse of Process]
[All Defendants]

149. Plaintiff incorporates by reference herein Paragraphs
1-148 of this Complaint, as though fully set forth.

150. The aforementioned false reports and statements were

intended to cause the prosecution and conviction of Plaintiff on

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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false charges in order to justify the unlawful, unnecessary,
excessive and unreasonable use of force by the individual defendant
bouncers, officers and security guards; to justify the unlawful and
unreasonable ejection and arrest of Plaintiff; and to protect each
and all of them, and their employers and principals, from the
threat and risk of criminal and civil sanction and/or civil damages
and other remedies. This constitutes a malicious, unlawful and
improper ulterior motive for the prosecution and an abuse by the
individual defendants of the process of the criminal courts.

151. There was no probable cause for the prosecution of
Plaintiff on any of the charges, nor for the abuse of process
directed to Plaintiff.

SEVENTH STATE CAUSE OF ACTION
[Denial of Free Speech Rights]
[All Defendants]

152, Plaintiff incorporates by reference herein Paragraphs
1-151 of this Complaint, as though fully set forth.

153, The false arrest and unlawful use of force by the
individual SDPD Officer defendants Hill, Krouse and Stafford denied
Plaintiff's free speech rights under the California Constitution
when she sought to exercise those rights in the initial contact
with Plaintiff, when she sought to explain herself and clarify the
circumstances which were being misapprehended and misrepresented.

154. The malicious prosecution and abuse of process by all of
the individual defendants were designed to frustrate Plaintiff in
the anticipated exercise of her free speech and petition rights
under the California Constitution to seek administrative or civil

redress for their false arrest and unlawful use of force, and the

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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other misconduct leading to those abuses of authority and criminal
acts against Plaintiff.
EIGHTH STATE CAUSE OF ACTION
[Intentional Infliction of Emotional Distress]
(All Defendants]

155. Plaintiff incorporates by reference herein Paragraphs
1-154 of this Complaint, as though fully set forth.

156. Defendants, in engaging the aforementioned acts, acted
with malice, intended to inflict emotional distress, and did
inflict emotional distress, engaging in outrageous conduct.

NINTH STATE CAUSE OF ACTION
[Negligent Infliction of Emotional Distress]
[All Defendants]

157. Plaintiff incorporates by reference herein Paragraphs
1-156 of this Complaint, as though fully set forth.

158. Defendants had a duty of care toward Plaintiff
throughout their actions in respect to her, yet negligently failed
to perform that duty, causing her great emotional distress.

TENTH STATE CAUSE OF ACTION
{Breach of Contract]
[City; Qualcomm; Chargers; Does I-V & XVI]

159. Plaintiff incorporates by reference heréin Paragraphs
1-158 of this Complaint, as though fully set forth.

160. Plaintiff had a valid ticket to attend the Raiders-
Chargers football game on October 29, 2000, and said ticket
constituted a contract between Plaintiff and Defendants City,
Qualcomm and Chargers.

161, All of the acts and omissions of the individual
defendants, acting as agents of Defendants City, Qualcomm &

Chargers, breached the contract terms of Plaintiff’s admission

ticket to the football game.

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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ELEVENTH STATE CAUSE OF ACTION
[Breach of Covenant of Good Faith and Fair Dealing]
[City; Qualcomm; Chargers; Does I-V & XVI]

162. Plaintiff incorporates by reference herein Paragraphs
1-161 of this Complaint, as though fully set forth.

163. Implicit in the ticket-contract was a covenant of good
faith and fair dealing.

164. Under said covenant, Plaintiff was entitled to the quiet
enjoyment of the sporting contest and to be free of any unlawful
conduct by agents of the City, Qualcomm and Chargers.

165. Defendants City, Qualcomm and Chargers, and their
agents, had a duty, individually and collectively, to comply with
their contractual obligations to Plaintiff, including any implied
covenants and any duties, responsibilities and restraints imposed
by operation of law; and a duty to ensure that their respective
agents complied as well.

166. Defendants City, Qualcomm and Chargers, and their
agents, individually and collectively, failed to comply with those
duties as specified in Paragraph 117, and intentionally and/or
negligently failed to ensure that their respective agents complied.

167. All of the acts and omissions of the individual
defendants, acting as agents of Defendants City, Qualcomm &
Chargers, breached the aforementioned covenants.

TWELFTH STATE CAUSE OF ACTION
[Negligent Hiring, Supervision and Retention; Ratification]
{All Entity Defendants]

168. Plaintiff incorporates by reference herein Paragraphs
1-167 of this Complaint, as though fully set forth.

169. The entity Defendants individually and collectively had

a duty of care toward Plaintiff and all other game patrons, by

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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contract, agreement or by operation of law, for the lawful and
objectively reasonable business management and/or supervision of
the individual defendants, yet negligently failed to perform that
duty.

170. The entity defendants individually and collectively had
a duty of care toward Plaintiff and all other game patrons, by
contract, agreement or by operation of law, not to retain the
services of officers, security personnel or security companies who
fail to conduct business, or to supervise subordinates or
subordinate entities, in accordance with the law and objectively
reasonable business management and supervisory practices; and to
make such periodic inquiries and investigations as necessary to
stay reasonably informed of the manner in which their agents
subordinate entities perform their duties and in response to
specific complaints made by patrons. The entity defendants
individually and collectively negligently failed to perform those
duties.

171. The entity defendants individually and collectively had
a duty of care toward Plaintiff and all other game patrons, by
contract, agreement or by operation of law, not to hire, contract
with or retain the services of officer, security personnel or
security companies who fail to conduct business or to deal with
patrons in accordance with the law and objectively reasonable
security and law enforcement practices; and to make such periodic
inguiries and investigations as necessary to stay reasonably
informed of the manner in which their agents and subordinate
entities perform their duties and in response to specific

complaints made by patrons or other such notice. The entity

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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defendants individually and collectively negligently failed to
perform those duties.

172. Training in use of force, particularly in the lawful
circumstances and proper implementation of restraints which pose a
reasonably anticipated potential for death or serious bodily
injury, and the preparation of police reports is of such importance
in preserving the rights of persons affected that the failure to
provide it adequately would constitute deliberate indifference to
the legal and constitutional rights of those whose rights are
violated because of their improper or unlawful use.

173. The training of the SDPD Defendants was inadequate in
that their conduct herein has been manifestly inconsistent with the
standards of training mandated by state and federal law, designed
and intended to accommodate the constitutional obligations of
police officers to respect the constitutional rights of persons
with whom police officers come into contact while performing their
law enforcement responsibilities.

174. The aforementioned conduct of the individual SDPD
Officers was caused by the policies, and lack thereof, and by the
lack of adequate training and supervision by the City and SDPD;
further, the latter entities ratified the misconduct of these
officers despite being aware of the totality of the true
circumstances.

175. The aforementioned conduct of the individual Murphy’s
Club bouncers and Elite Security guards SDPD was caused by the
policies, and lack thereof, and by the lack of adequate training
and supervision by all of the entity defendants herein; further,

the latter entities ratified the misconduct of these officers

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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despite being aware of the totality of the true circumstances;
further, the entity defendants herein have been negligent and acted
in reckless disregard for the rights of Plaintiff and other patrons
by their inadequate policies, as well as the hiring, retention,
training and supervision of the individual defendants by their
respective employers and principals having control over these
matters, and the duty to exercise it, by law or contract.

COMMON DAMAGES ALLEGATIONS AS TO ALL DEFENDANTS
AND ALL FEDERAL AND PENDENT STATE CLAIMS

176. Each of the individual Defendants participated in and/or
proximately caused the aforementioned unlawful conduct, and acted
in concert with the other named defendants and other officers and
security guards, whose identities and/or extent of involvement are
not yet known to plaintiffs.

177. Plaintiff incurred approximately $50,000 in legal costs
and attorneys’ fees to defend herself against the malicious
criminal prosecution and abuse of process, which were caused by the
aforementioned conduct of the individual defendants.

178. Plaintiff incurred medical expenses for her physical
injuries, which were caused by the aforementioned conduct of the
individual defendants.

179. Plaintiff incurred loss of employment income because of
her arrest, injuries and the malicious prosecution, which were
caused by the aforementioned conduct of the individual defendants.

180. Plaintiff suffered substantial pain, emotional distress
and anguish, humiliation and substantial damage to her personal and

professional reputation because of her arrest, injuries and the

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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1 malicious prosecution, which were caused by the aforementioned
2 conduct of the individual defendants.
3 181. The conduct of the individual defendants, and each of
4i)them, caused Plaintiff's physical injuries.
5 182. The conduct of the individual defendants, and each of
6 |}them, caused Plaintiff's arrest and incarceration until she was
7 || released on bail.
8 183. The conduct of the individual defendants, and each of
9|}them, caused Plaintiff’s prosecution on criminal charges, and the
10 | legal costs she incurred.
11 184. The conduct of the individual defendants, and each of
12 | them, caused Plaintiff’s loss of income.
13 185. The conduct of the individual defendants, and each of
14} them, caused Plaintiff's pain, emotional distress and anguish,
15 | humiliation and substantial damage to her personal and professional
16 || reputation.
17 186. The acts and omissions of the entity defendants, and
18 || each of them, caused Plaintiff's physical injuries.
19 187. The acts and omissions of the entity defendants, and
20 || each of them, caused Plaintiff's arrest and incarceration until she
21|}was released on bail.
22 188. The acts and omissions of the entity defendants, and
23 }each of them, caused Plaintiff’s prosecution on criminal charges,
24} and the legal costs she incurred.
25 189. The acts and omissions of the entity defendants, and
26 f}each of them, caused Plaintiff’s loss of income.
27 190. The acts and omissions of the entity defendants, and

28H each of them, caused Plaintiff’s pain, emotional distress and

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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1} anguish, humiliation and substantial damage to her personal and

2 || professional reputation.

3 191. The Defendants and each of them, in engaging in the

4l| aforementioned conduct, intended to act as they did, and intended

5} to violate Plaintiff's rights.

6 192. As a direct and proximate result of the aforementioned

7 {| acts and/or omissions of the Defendants and each of them,

8 Plaintiff:

9 a. Has been subjected to police terror, accompanied by
10 apparent threat to her life by strangulation, and will
11 continue in the future to be in fear of such police terror;
12 b. Has suffered assault and battery, and other painful
13 physically abusive treatment while being arrested and while in
14 custody;

15 c. Has suffered the humiliation and other anguish of
16 arrest, incarceration followed by a period in custody, and
17 having a serious criminal arrest record which can influence
18 future state professional licensing decisions;
19 d. Has suffered through the burdens, fear, humiliation,
20 distress and anguish of a criminal prosecution with the
21 attendant risks of conviction, incarceration and a criminal
22 record;
23 e. Has suffered loss of income;
24 f. Has incurred medical and related expenses for her
25 injuries;
26 g. Incurred legal expenses in the underlying criminal
27 prosecution;
28 h. Has suffered a deprivation of her First Amendment
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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 

 
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rights, and fears to exercise the rights in the future;

i. Has suffered extreme humiliation, pain, emotional
distress and mental anguish, from the date of said acts until
now, and will continue to so suffer in the future;

j. Lost the value of her ticket to the Raiders-Chargers
game on October 29, 20000,

193. At all relevant times herein, the individual defendants,
and each of them, acted with malice and reckless disregard for
plaintiffs' constitutional rights under the First, Fourth and
Fourteenth Amendments to the Constitution of the United States,
entitling Plaintiff to punitive damages from the individual
defendants and each of them.

194. Because of the ratification by the entity defendants of
the misconduct of the individual defendants, and each of then,
Plaintiff is entitled to punitive damages against each of the
entity defendants except the City of San Diego.

PRAYER

WHEREFORE, Plaintiff seeks judgment against all defendants
jointly and severally, except as specifically indicated, for:

1. Compensatory damages according to proof;

2. Special damages, including but not limited to, attorneys'
fees and other legal costs, loss of income and employment benefits,
lost value of the ticket for the Raiders-Chargers game, and damages
to Plaintiff's personai and professional reputation, in an amount
to be determined at trial, according to proof;

3. Punitive damages in the amount of $500,000. as Defendant

SDPD Officer Hill; in the amount of $190,000 as to each individual

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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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defendant; and in the amount of $1,000,000 as to each entity
defendant except the City of San Diego;

4, Reasonable attorneys' fees and costs of suit pursuant to
42 U.S.C. sec.1988 and California Civil Code sec.50 et seq.;

5. For injunctive relief according to proof;

6. For such further relief as the Court may deem necessary
and proper.

Dated: October 26, 2001

     
  
        

 

 

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Attorney

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DEMAND FOR JURY TRIAL “ NS

Plaintiff demands trial by jury.

Dated: October 26, 2001 aw
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COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 

 
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Attorney for Plaintiff

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

ELIZABETH M. ACOSTA,

Plaintiff,

CITY OF SAN DIEGO, a municipal

corporation; GARY HILL, JOSEPH
KROUSS, ERIC STAFFORD, RAPHAEL
CIMARRUSTI & DOES I-V, in their
official & individual capacities;
QUALCOMM STADIUM, an independent
municipal agency; VOLUME SERVICES
OF AMERICA dba MURPHY’S CLUB;
MURPHY’S CLUB; HENRY FONTENETTE,
MICHAEL OLIVER & DOES VI-X, in
thelr representative & individual
capacities; ELITE SHOW SERVICES,
Inc.; DONALD WILLIAMS, VLADIMIR
ATABEKIAN & DOES XI-XV, in their
representative & individual
capacities; SAN DIEGO CHARGERS,
INC.; DOES XVI-XX,

Defendants.

 

 

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ATTACHMENT A

1

Case No,

COMPLAINT FOR DAMAGES AND
FOR INJUNCTIVE RELIEF

[42 U.S.C. sec.1983 &
Pendent State Claims]

JURY DEMANDED

COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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Attorney at Law

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626-440-9906

Attorney for Plaintiff

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

ELIZABETH M. ACOSTA,

Plaintiff,

CITY OF SAN DIEGO, a municipal

corporation; GARY HILL, JOSEPH
KROUSS, ERIC STAFFORD, RAPHAEL
CIMARRUSTI & DOES I-V, in their
official & individual capacities;
QUALCOMM STADIUM, an independent
municipal agency; VOLUME SERVICES
OF AMERICA dba MURPHY’S CLUB;
MURPHY'S CLUB; HENRY FONTENETTE,
MICHAEL OLIVER & DOES VI-X, in
their representative & individual
capacities; ELITE SHOW SERVICES,
Inc.; DONALD WILLIAMS, VLADIMIR
ATABEKIAN & DOES XI-XV, in their
representative & individual
capacities; SAN DIEGO CHARGERS,
INC.; DOES XVI-&X,

Defendants.

 

 

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ATTACHMENT A

1

Case No.

COMPLAINT FOR DAMAGES AND
FOR INJUNCTIVE RELIEF

[42 U.S.C. sec.1983 &
Pendent State Claims]

JURY DEMANDED

COMPLAINT FOR DAMAGES AND FOR INJUNCTIVE RELIEF

 
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MALTCTOUS PROSECUTION ARISING FROM ARREST AT QUALCOMM STADIUM DIEING CHARGERS-RAIDERS GAM)
AND SUBSEQUENT CRIMINAL PROSECUTION,

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